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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS DALLAS DIVISION

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.
Case Number: 3:16-CR-00448-B(1)
JEFFREY NDUNGI SILA USM Number: 74051-112
Defendant’s Attorney
THE DEFENDANT:
L] | pleaded guilty to count(s)
pleaded guilty to count(s) before a U.S.
L] | Magistrate Judge, which was accepted by the
court.
Og pleaded nolo contendere to count(s) which was
accepted by the court
was found guilty on count(s) after a plea of not Counts 1, 2, and 3 of the three-count second superseding Indictment
guilty filed April 4, 2017

 

 

 

 

 

The defendant is adjudicated guilty of these offenses:

 

Title & Section / Nature of Offense Offense Ended Count
18 U.S.C. §§ 641 & 2 Theft of Public Funds and Aiding and Abetting 08/09/2016 1
18 U.S.C. §§ 1028A & 2 Aggravated Identity Theft and Aiding and Abetting 08/09/2016 2
18 U.S.C. §§ 641 & 2 Theft of Public Funds and Aiding and Abetting 08/04/2012 3

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

The defendant has been found not guilty on count(s)
The original indictment filed October 4, 2016, and the superseding Indictment filed November 1, 2016, Dis Ware

dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

September 20, 2018

Date of Imposition of Judgment

Wag —

a Wi —
JANE J/BOYLE, UNITED STATES DISTRICT JUDGE
Name and Title of Judge

September 21, 2018
Date

 
 

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DEFENDANT: JEFFREY NDUNGI SILA
CASE NUMBER: 3:16-CR-00448-B(1)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

97 months. This term consists of 73 months on each of Counts 1 and 3, to run concurrently with each other, and 24 months on Count
2, to run consecutive to all other counts, for a total aggregate sentence of 97 months.

<]_ The court makes the following recommendations to the Bureau of Prisons:
that the defendant be allowed to serve his sentence at FMC Fort Worth, Fort Worth, Texas, if eligible.

X] The defendant is remanded to the custody of the United States Marshal.
LJ The defendant shall surrender to the United States Marshal for this district:

L) at O am. L] pm. on
L] as notified by the United States Marshal.
CJ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 p.m. on
L] as notified by the United States Marshal.
[] as notified by the Probation or Pretrial Services Office.

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

UNITED STATES MARSHAL

By
DEPUTY UNITED STATES MARSHAL
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DEFENDANT: JEFFREY NDUNGI SILA
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of : two (2) years on each of Counts 1 and
3 and one (1) year on Count 2, with all terms to run concurrently.

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)

4. §q You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
of restitution. (check if applicable)

5. [You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6. [] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. ( You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
 

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DEFENDANT: JEFFREY NDUNGI SILA
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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
_ to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.txnp.uscourts.gov.

Defendant’s Signature Date

 

 
 

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DEFENDANT: JEFFREY NDUNGI SILA
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SPECIAL CONDITIONS OF SUPERVISION

Pursuant to the Mandatory Victims Restitution Act of 1996, the defendant is ordered to pay restitution in the amount of
$9,443, payable to the U.S. District Clerk, 1100 Commerce Street, Room 1452, Dallas, Texas 75242. Restitution shall be
payable immediately and shall be disbursed to:

Internal Revenue Service
$9,443

If upon commencement of the term of supervised release any part of the restitution remains unpaid, the defendant shall
make payments on such unpaid balance in monthly installments of not less than 10 percent of the defendant's gross
monthly income, or at a rate of not less than $50 per month, whichever is greater. Payment shall begin no later than 60
days after the defendant's release from confinement and shall continue each month thereafter until the balance is paid in
full. In addition, at least 50 percent of the receipts received from gifts, tax returns, inheritances, bonuses, lawsuit awards,
and any other receipt of money shall be paid toward the unpaid balance within 15 days of receipt. This payment plan shall
not affect the ability of the United States to immediately collect payment in full through garnishment, the Treasury Offset
Program, the Inmate Financial Responsibility Program, the Federal Debt Collection Procedures Act of 1990 or any other
means available under federal or state law. Furthermore, it is ordered that interest on the unpaid balance is waived
pursuant to 18 U.S.C. § 3612(f)(3).

As a condition of supervised release, upon the completion of the sentence of imprisonment, the defendant shall be
surrendered to a duly-authorized immigration official for deportation in accordance with the established procedures
provided by the Immigration and Nationality Act, 8 U.S.C. § 1101 et seq. As a further condition of supervised release, if
ordered deported or removed, the defendant shall remain outside the United States.

In the event the defendant is not deported upon release from imprisonment, the defendant shall comply with the standard
conditions contained in this Judgment and shall comply with the mandatory and special conditions stated herein.

The defendant shall provide to the probation officer any requested financial information.

The defendant shall pay any remaining balance of restitution in the amount of $9,443, as set out in this Judgment.
 

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DEFENDANT: JEFFREY NDUNGI SILA
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

 

 

 

 

 

Assessment | JVTA Assessment* Fine Restitution
TOTALS $300.00 $.00 $.00 $9,443.00
() The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO245C) will be entered

after such determination,
J The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
§ 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $9,443.00 to:

IRS - RACS

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

x] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

>< _ the interest requirement is waived for the CL] fine &] restitution
[) _ the interest requirement for the [] fine [] _ restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22

** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
 

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DEFENDANT: JEFFREY NDUNGI SILA
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A §&& Lump sum payments of $ 9,443 due immediately, balance due

[] _ not later than , or
S|] in accordance Cl OC, D, Cc] E,or [] F below; or
B [|] _ Payment to begin immediately (may be combined with Cf] SC, CC] OD,or []  F below); or
C [| Payment in equal __... (@.g., weekly, monthly, quarterly) installments of §_ ser a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment;

or

D  & Payment in equal monthly (e.g, weekly, monthly, quarterly) installments of not less than 10 percent of the defendant's
gross monthly income, or at a rate of not less than $50 per month, whichever is greater, until the balance is paid in full,
to commence 60 days (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
time; or

F <x] Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the Defendant shall pay to the United States a special assessment of $300.00 for Counts 1, 2 and
3, which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

LJ] Joint and Several

See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.

~- Defendant shail receive credit on his restitution obligation for recovery from other defendants who contributed to the same
loss that gave rise to defendant's restitution obligation.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

OoOoOdo

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
